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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 LORENZO BUDET, on behalf of himself and
 all others similarly situated,


        Plaintiff,                                       Civil Action No. 22-2134 (RK) (JBD)

                 V.                                                     ORDER

 RUTGERS BUSINESS SCHOOL, et al,

        Defendants.




       This matter comes before the Court upon Defendants Rutgers Business School ("RBS")


and Rutgers, the State University of New Jersey's (collectively, "Rutgers") Motion to Dismiss,


(ECF No. 25), Plaintiff Lorenzo Budet's ("Budet") Second Amended Class Action Complaint


(ECF No. 23), pursuant to Federal Rules of Civil Procedure (Rules) 12(b)(l) and 12(b)(6). After

careful consideration of the parties' submissions, and for the reasons set forth in the accompanying


Opinion, and for other good cause shown,


       IT IS on this 10th day of July, 2024, ORDERED that:

       1. Rutgers's Motion to Dismiss (ECF No. 25) is GRANTED;


       2. Budet's Second Amended Complaint (ECF No. 23) is DISMISSED WITH

           PREJUDICE in its entirety;

       3. The Clerk's Office is directed to terminate the Motion pending at EjQF'No.^5; and


       4. The Clerk's Office is directed to close this matter

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                                              ROBERT{]flRSCH
                                              UNITED STATES DISTRICT JUDGE
